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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


DIANE BATES,                       )
                                   )
        Plaintiff,                 )
                                   )           CIVIL ACTION NO.
        v.                         )             2:24cv154-MHT
                                   )                  (WO)
THOMAS LEE MACON, IV, in           )
his individual and his             )
official capacity as               )
Elmore County Revenue              )
Commissioner, et al.,              )
                                   )
        Defendants.                )

                                OPINION

    Plaintiff filed this lawsuit asserting race, age,

and disability discrimination and a variety of other

claims stemming from the termination of her employment

and her filing of a charge with the Equal Opportunity

Employment Commission.          This lawsuit is now before the

court        on   the   recommendation    of     the     United       States

Magistrate Judge that defendants’ motions to dismiss be

granted.           Also   before   the    court      are        plaintiff’s

objections to the recommendation.              After an independent
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and de novo review of the record, the court concludes

that plaintiff’s objections should be overruled and the

magistrate judge’s recommendation adopted.                      The court

notes that the magistrate judge held a hearing with the

pro se plaintiff and defendants’ counsel on February

11,   2025.      This    court    has    listened      carefully       to      a

recording of the hearing, and finds that the magistrate

judge   tried    to     assist    plaintiff      by    asking       her       to

clarify    the    basis     of     her     claims,       but     she      was

uncooperative.

      An appropriate judgment will be entered.

      DONE, this the 11th day of March, 2025.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE




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